
32 N.Y.2d 807 (1973)
The People of the State of New York, Respondent,
v.
Angelo Acevedo, Appellant.
Court of Appeals of the State of New York.
Argued April 30, 1973.
Decided May 4, 1973.
John Nicholas Iannuzzi for appellant.
Frank S. Hogan, District Attorney (Hugh Anthony Levine and Michael R. Juviler of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order reversed for the reasons stated in the dissenting opinion at the Appellate Division and a new trial ordered on counts *809 of the indictment submitted to the jury but upon which a verdict was not returned.
